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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

RONALD J. CAMUS                                     )   CIVIL ACTION NO.: 21-00168
                                                    )
                                                    )
                     Plaintiff                      )   DISTRICT JUDGE JANE TRICHE
v.                                                  )   MILAZZO
                                                    )
MARQUETTE TRANSPORTATION                            )
COMPANY, LLC                                        )   MAG. JUDGE DANA M. DOUGLAS
                                                    )
                                                    )
                      Defendant                     )

                                            ORDER

        In consideration of the foregoing Unopposed Motion to Continue Trial and Pretrial

Deadlines (Doc. 12) filed in the above-captioned matter;


       IT IS ORDERED that the plaintiff’s Unopposed Motion to Continue Trial and Pretrial

Deadlines is GRANTED. The trial originally set for February 7, 2022 and other pretrial deadlines are

RESET to a date to be established by this Court. The case manager will set a new scheduling conference to

select new dates.


       New Orleans, Louisiana, this 9th day of November, 2021.




                                            HON. JANE TRICHE MILAZZO
                                            UNITED STATES DISTRICT JUDGE




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